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        EXHIBIT 6
           Wayfarer Studio LLC’s
         Supplemental Responses and
         Objections to Blake Lively's
          First Set of Interrogatories
                   Filed Under Seal
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            UNITED STATES DISTRICT COURT
            SOUTHERN DISTRICT OF NEW YORK
            -------------------------------------------------------------------- x
            BLAKE LIVELY,                                                         :
                                                                                  :   Civ. Action No. 1:24-cv-10049-LJL
                                       Plaintiff,                                 :
                                                                                  :
            v.                                                                    :
                                                                                  :
             WAYFARER STUDIOS LLC, JUSTIN BALDONI,                                :
             JAMEY HEATH, STEVE SAROWITZ, IT ENDS                                 :
             WITH US MOVIE LLC, MELISSA NATHAN, THE
             AGENCY GROUP PR LLC, and JENNIFER ABEL, :
                                                                                  :
                                       Defendants.                                :
                                                                                  :
            --------------------------------------------------------------------- x
            JENNIFER ABEL,                                                        :
                                                                                  :
                                                Third-Party Plaintiff,            :
                                                                                  :
            v.                                                                    :
                                                                                  :
            JONESWORKS LLC,                                                       :
                                                                                  :
                                                Third-Party Defendant.            :
                                                                                  :
                                                                                  :
                                                                                  :
            -------------------------------------------------------------------- x
            WAYFARER STUDIOS LLC,                                                 :
            JUSTIN BALDONI, JAMEY HEATH, IT ENDS WITH :
            US MOVIE LLC, MELISSA NATHAN, JENNIFER                                :
            ABEL, and STEVE SAROWITZ,                                             :
                                                                                  :
                                                Plaintiffs,                       :
                                                                                  :
            v.                                                                    :
                                                                                  :
            BLAKE LIVELY, RYAN REYNOLDS, LESLIE                                   :
            SLOANE, VISION PR, INC., and THE NEW YORK                             :
            TIMES COMPANY,                                                        :
                                                                                  :
                                                Defendants.                       :
            -------------------------------------------------------------------- x
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               DEFENDANT WAYFARER STUDIOS LLC’S SUPPLEMENTAL RESPONSES AND
                     OBJECTIONS TO PLAINTIFF BLAKE LIVELY’S FIRST SET OF
                                     INTERROGATORIES

                    Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure and the Local Civil

            Rules of the Court, Defendant Wayfarer Studios LLC (“Wayfarer” or “Responding Party”), by and

            through its attorneys, hereby provides supplemental responses to Plaintiff           Blake Lively’s

            (“Lively” or “Propounding Party”) First Set of Interrogatories.

                                                              I.

                                                  GENERAL OBJECTIONS

                    Responding Party makes the following general objections ("General Objections") to

            Propounding Party’s Interrogatories. These General Objections are hereby incorporated into each

            specific response. The assertion of the same, similar, or additional objections or the provision of

            partial responses to each of the individual interrogatories does not waive or modify any of

            Responding Party’s General Objections. Responding Party provides the following objections and

            responses without waiving its right to present evidence at trial of any later-ascertained facts.

                    1.       Responding Party objects to each Interrogatory to the extent that it seeks

            information that is not relevant to any claim or defense or proportional to the needs of the case.

                    2.       Responding Party objects to each Interrogatory to the extent that it purports to

            impose on Responding Party obligations broader than, or inconsistent with, those imposed by the

            Federal Rules of Civil Procedure, the Local Rules of Civil Practice and Procedure of the United

            States District Court for the Southern District of New York, or by any other applicable law or

            protocol governing discovery obligations in the above-captioned action.

                    3.       Responding Party objects to each Interrogatory to the extent that it seeks discovery

            of any confidential information or communication that is protected from disclosure by the attorney-
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            client privilege, the work product doctrine, or any other applicable privilege, immunity, or

            exception. Nothing contained in these responses, or any inadvertent production or identification of

            documents made in response to these interrogatories, is intended as, or shall in any way be deemed,

            a waiver of the attorney-client privilege, the common interest privilege, the work product doctrine,

            or any other applicable privilege, immunity, or exception.

                    4.       Responding Party objects to each Interrogatory to the extent that it is overbroad or

            unduly burdensome. Responding Party further objects to the extent that Propounding Party seeks

            to require Responding Party to provide information other than that which may be obtained through

            a reasonably diligent search of its own records.

                    5.       Responding Party objects to each Interrogatory to the extent it seeks information

            that is not in Responding Party's possession, custody or control.

                    6.       Responding Party objects to each Interrogatory to the extent it would require

            Responding Party to produce information covered by confidentiality agreements or protective

            orders with others, or that constitute an unwarranted invasion of the affected persons'

            constitutional, statutory and/or common-law rights of privacy and confidentiality.

                    7.       Responding Party objects to each Interrogatory to the extent it seeks confidential

            commercial, financial, and/or proprietary business information, trade secrets, and/or any other non-

            public information protected from disclosure by law, court order, or agreement respecting

            confidentiality or non-disclosure or requires the disclosure of confidential or proprietary business

            information of third parties which Responding Party is obligated to protect.

                    8.       Responding Party objects to Propounding Party’s Interrogatories as unduly

            burdensome to the extent that they seek information or documents that are publicly available,
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            equally accessible to Propounding Party, or already in Propounding Party’s possession, custody,

            or control.

                    9.       Responding Party objects to each Interrogatory insofar as it is unreasonably

            cumulative, duplicative, repetitive, redundant, or overlapping of other interrogatories.

                    10.      Responding Party objects to each Interrogatory to the extent that it, or any word or

            term used therein, is vague, ambiguous, compound, confusing, unintelligible, unclear, subject to

            different interpretations, and/or lacking in definition.

                    11.      Responding Party objects to each Interrogatory to the extent that it is unlimited in

            temporal scope or contains overly broad time limitations or periods that are not relevant to any

            claim or defense or proportional to the needs of the case.

                    12.      Responding Party objects to each Interrogatory to the extent that it assumes, relies

            on, or seeks disputed facts or legal conclusions or opinions. Responding Party denies any such

            disputed facts or legal conclusions or opinions to the extent assumed, relied on, or sought by each

            Interrogatory. Any response or objection by Responding Party to any such Interrogatory is without

            prejudice to this objection.

                    13.      In responding and objecting to each Interrogatory, Responding Party does not

            concede that any information sought or provided is relevant to the claims of any party, proportional

            to the needs of this case, or admissible in evidence.

                    14.      Responding Party objects to each Interrogatory to the extent that it exceeds the

            scope of interrogatories set forth in Local Civil Rule 33.3(a).

                    15.      Nothing herein, or in any response, shall be construed as an admission by

            Responding Party regarding the admissibility of any fact, or as an admission as to the truth or

            accuracy of any information or documents provided in response to these Interrogatories. In
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            providing responses to each Interrogatory, Responding Party does not in any way waive any

            objections Responding Party may later assert, including but not limited to competency, relevancy,

            materiality, and admissibility. Responding Party expressly reserves the right to object to the use

            of any responses below in any subsequent proceedings or any other action. Responding Party

            further reserves the right to object to additional discovery into the subject matter of the

            Interrogatory.

                    16.      Responding Party has responded to each Interrogatory based upon its understanding

            of each Interrogatory and recollection as of the date these responses are served.

                    17.      Responding Party’s responses herein are based on its present knowledge,

            information, and belief following its diligent search and reasonable inquiry. Discovery and

            investigation are ongoing, and Responding Party reserves the right to amend, correct, supplement,

            or clarify its responses based upon, among other things, further investigation, discovery of

            additional facts or information, or developments in this action or in related law, particularly in

            view of Propounding Party’s failure to comply with the Local Rules.

                                                             II.

                                            OBJECTIONS TO INSTRUCTIONS

                    1.       Responding Party objects to Paragraph 2 of Propounding Party’s Instructions to the

            extent it instructs Responding Party to gather information from its “agents, employees,

            representatives, or investigators (including but not limited to experts) . . . present or former

            attorneys or [its] agents, employees, representatives or investigators; or by any other person or

            legal entity controlled by or in any other manner affiliated with [it]” that is protected from

            disclosure by the attorney-client privilege, work product doctrine, common interest privilege

            and/or any other applicable privilege or immunity. Responding Party further objects to this
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            instruction to the extent that it requires Responding Party to produce duplicative or cumulative

            information. Responding Party will only produce information that is in its possession, custody, or

            control, as required under the Federal Rules of Civil Procedure, the Local Rules of Civil Practice

            and Procedure of the United States District Court for the Southern District of New York, or by any

            other applicable law or protocol governing discovery obligations in this action.

                                                             III.

                                             OBJECTIONS TO DEFINITIONS

                    1.       Responding Party objects to Propounding Party’s definition of “Bryan Freedman”

             on the grounds that it is vague, ambiguous, overbroad, unduly burdensome, and not relevant to

             any party's claim or defense or proportional to the needs of the case in that the definition includes

             not only Bryan Freedman, but also unidentified past or present members, officers, employees,

             partners, corporate parent, subsidiaries, or affiliates regardless of their relationship to the

             allegations, claims, or defenses in the Action. In responding to the Interrogatories, Responding

             Party will construe the term “Bryan Freedman” to mean Bryan Freedman.

                    2.       Responding Party objects to Propounding Party’s definition of “Content Creator”

             on the grounds that it is vague, ambiguous, overbroad, unduly burdensome, and not relevant to

             any party's claim or defense or proportional to the needs of the case in that the definition includes

             “any individual or entity who seeds, generates, creates, or influences Social Media content or

             provides related digital services.”

                    3.       Responding Party objects to Propounding Party’s definition of the term “Digital

             Campaign,” as it is vague, ambiguous, and overbroad in that it includes all “efforts … to

             communicate information regarding” a laundry list of subjects/topics. The definition is also vague

             and ambiguous because it is unclear what is meant by “narrative or virality,” including how this
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             phrase fits into the overall definition as constructed. The definition is further objectionable on the

             basis that it includes several subjective, ambiguous, and undefined qualifiers such as “seed,

             influence, boost, amplify, or engage with social media algorithms, narrative or virality”; and it

             incorporates the definition “Social Media,” which is itself overbroad, vague, and ambiguous

             (including the phrase, “[w]ithout limiting the foregoing in any manner, and by way of example

             only”) and contains numerous undefined terms (“all original posts, reposts, shares, likes,

             comments, hashtags, memes, images, videos, stories, threads, and reactions; all drafts, deleted

             posts, or unpublished content related to Plaintiff; all engagement metrics, analytics, reports, or

             logs reflecting interactions with content; and all metadata, time stamps, IP addresses, geolocation

             data, or user activity logs related to content.”).

                    4.       Responding Party objects to Propounding Party’s definition of “IEWU LLC” on

             the grounds that it is vague, ambiguous, overbroad, unduly burdensome, and not relevant to any

             party's claim or defense or proportional to the needs of the case in that the definition includes not

             only It Ends With Us Movie LLC, but also unidentified past or present members, officers,

             employees, partners, corporate parent, subsidiaries, or affiliates regardless of their relationship to

             the allegations, claims, or defenses in the Action. In responding to the Interrogatories, Responding

             Party will construe the term “IEWU LLC” to mean It Ends With Us Movie LLC.

                    5.       Responding Party objects to Propounding Party’s definition of “Jonesworks” on the

             grounds that it is vague, ambiguous, overbroad, unduly burdensome, and not relevant to any

             party's claim or defense or proportional to the needs of the case in that the definition includes not

             only Jonesworks LLC, but also unidentified past or present members, officers, employees,

             partners, corporate parent, subsidiaries, or affiliates regardless of their relationship to the
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             allegations, claims, or defenses in the Action. In responding to the Interrogatories, Responding

             Party will construe the term “Jonesworks” to mean Jonesworks LLC.

                    6.       Responding Party objects to Propounding Party’s definition of “Liner Freedman

             Taitelman + Cooley” on the grounds that it is vague, ambiguous, overbroad, unduly burdensome,

             and not relevant to any party's claim or defense or proportional to the needs of the case in that the

             definition includes not only Liner Freedman Taitelman + Cooley LLP, but also unidentified past

             or present members, officers, employees, partners, corporate parent, subsidiaries, or affiliates

             regardless of their relationship to the allegations, claims, or defenses in the Action. In responding

             to the Interrogatories, Responding Party will construe the term “Liner Freedman Taitelman +

             Cooley” to mean Liner Freedman Taitelman + Cooley LLP.

                    7.       Responding Party objects to Propounding Party’s definition of “Lively/Reynolds

             Companies” on the grounds that it is vague, ambiguous, overbroad, unduly burdensome, and not

             relevant to any party's claim or defense or proportional to the needs of the case in that the

             definition includes not only Ms. Lively and Mr. Reynolds’s affiliated entities (Betty Buzz LLC,

             Blake Brown, Aviation Gin, Mint Mobile, and Maximum Effort Productions), but also

             unidentified past or present members, officers, employees, partners, corporate parent,

             subsidiaries, or affiliates regardless of their relationship to the allegations, claims, or defenses in

             the Action. In responding to the Interrogatories, Responding Party will construe the term

             “Lively/Reynolds Companies” to mean Betty Buzz LLC, Blake Brown, Aviation Gin, Mint

             Mobile, and Maximum Effort Productions.

                    8.       Responding Party objects to Propounding Party’s definition of the term “Marketing

             Plan,” as it is vague, ambiguous, and overbroad in that it includes “any advertising, promotional,

             publicity or marketing materials (such as, without limitation, themes, market testing, research,
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             summaries, talking points, trailers or teasers, posters, social media posts, and screen, radio, digital

             or television advertising),” none of which is properly and narrowly defined and the production of

             which would be unnecessarily burdensome and not proportional to the needs of the case or

             relevant to the claim or defense of any party.

                    9.       Responding Party objects to Propounding Party’s definition of the term “Social

             Media,” as it is vague, ambiguous, and overbroad in that it includes “any digital platform, forum,

             website, application, online service, or other platform,” none of which is properly and narrowly

             defined and the production of which would be unnecessarily burdensome and not proportional to

             the needs of the case or relevant to the claim or defense of any party, and further objects to “on

             which persons can create, transmit, share, communicate, exchange content, or comment upon any

             information, ideas, or opinions” as similarly overbroad, vague, and ambiguous, and essentially

             includes every possible use of the internet. Responding Party also objects to “social networking”

             as it is vague, ambiguous, and overbroad, and objects to catch-all phrases such as “similar to” and

             “Any Other Online Presence,” the definition of which is itself overbroad, vague, and ambiguous,

             overly burdensome and not proportional to the needs of the case or relevant to the claim or defense

             of any party.

                    10.      Responding Party objects to Propounding Party’s definition of “Sony” on the

             grounds that it is vague, ambiguous, overbroad, unduly burdensome, and not relevant to any

             party's claim or defense or proportional to the needs of the case in that the definition includes not

             only Sony Pictures Entertainment, but also unidentified past or present members, officers,

             employees, partners, corporate parent, subsidiaries, or affiliates regardless of their relationship to

             the allegations, claims, or defenses in the Action. In responding to the Interrogatories, Responding

             Party will construe the term “Sony” to mean Sony Pictures Entertainment.
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                    11.      Responding Party objects to Propounding Party’s definition of “Street Relations”

             on the grounds that it is vague, ambiguous, overbroad, unduly burdensome, and not relevant to

             any party's claim or defense or proportional to the needs of the case in that the definition includes

             not only Street Relations, Inc., but also unidentified past or present members, officers, employees,

             partners, corporate parent, subsidiaries, or affiliates regardless of their relationship to the

             allegations, claims, or defenses in the Action. In responding to the Interrogatories, Responding

             Party will construe the term “Street Relations” to mean Street Relations, Inc.

                    12.      Responding Party objects to Propounding Party’s definition of “TAG” on the

             grounds that it is vague, ambiguous, overbroad, unduly burdensome, and not relevant to any

             party's claim or defense or proportional to the needs of the case in that the definition includes not

             only The Agency Group PR LLC, but also unidentified past or present members, officers,

             employees, partners, corporate parent, subsidiaries, or affiliates regardless of their relationship to

             the allegations, claims, or defenses in the Action. In responding to the Interrogatories, Responding

             Party will construe the term “TAG” to mean The Agency Group PR LLC.

                    13.      Responding Party objects to Propounding Party’s definition of “Wayfarer” on the

             grounds that it is vague, ambiguous, overbroad, unduly burdensome, and not relevant to any

             party's claim or defense or proportional to the needs of the case in that the definition includes not

             only Wayfarer Studios LLC, but also unidentified past or present members, officers, employees,

             partners, corporate parent, subsidiaries, or affiliates regardless of their relationship to the

             allegations, claims, or defenses in the Action. In responding to the Interrogatories, Responding

             Party will construe the term “Wayfarer” to mean Wayfarer Studios LLC.

                    14.      Responding Party objects to Propounding Party’s definition of “WME” on the

             grounds that it is vague, ambiguous, overbroad, unduly burdensome, and not relevant to any
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             party's claim or defense or proportional to the needs of the case in that the definition includes not

             only William Morris Endeavor Entertainment Agency, but also unidentified officers, employees,

             partners, corporate parent, subsidiaries, or affiliates regardless of their relationship to the

             allegations, claims, or defenses in the Action. In responding to the Interrogatories, Responding

             Party will construe the term “WME” to mean William Morris Endeavor Entertainment Agency.

                    15.      Responding Party objects to Propounding Party’s definition of “You,” “Your,” and

             “Yours” on the grounds that it is vague, ambiguous, overbroad, unduly burdensome, and not

             relevant to any party's claim or defense or proportional to the needs of the case in that the

             definition includes not only Wayfarer Studios LLC but also unidentified persons or entities acting

             or purporting to act on its behalf and anyone on whose behalf it is acting, regardless of their

             relationship to the allegations, claims, or defenses in the Action. In responding to the

             Interrogatories, Responding Party will construe the terms “You,” “Your,” and “Yours” to mean

             Wayfarer Studios LLC.

                                                             IV.

             SUPPLEMENTAL RESPONSES TO PROPOUNDING PARTY’S INTERROGATORIES

            INTERROGATORY NO. 1, AS AMENDED:

                    Identify all reporters and news or media outlets of any kind with whom You have

            communicated in any manner concerning Ms. Lively, Mr. Reynolds, the CRD Complaint, the

            Actions, or the Lively/Reynolds Companies, from June 15, 2024 to Present.

            RESPONSE TO INTERROGATORY NO. 1, AS AMENDED:

                    Responding Party incorporates by reference its general objections as if fully set forth in

            response to this Interrogatory. Responding Party objects to this Interrogatory to the extent it is not

            proportional to the needs of the case or relevant to the claim or defense of any party. Responding
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            Party further objects to this Interrogatory on the grounds that it is overbroad. Responding Party

            further objects to this Interrogatory on the grounds that it is vague as to “reporters,” “news or media

            outlets,” and “communicated.” Responding Party further objects to this Interrogatory to the extent

            that it exceeds the scope of Local Civil Rule 33.3(a).

                    Subject to and without waiving the foregoing objections, Responding Party responds as

            follows: None.

            Dated: June 13, 2025                             MEISTER SEELIG & FEIN PLLC
                   New York, NY

                                                             By:    /s/ Mitchell Schuster
                                                                    Mitchell Schuster
                                                                    Kevin Fritz
                                                             125 Park Avenue, 7th Floor
                                                             New York, NY 10017
                                                             Telephone: (212) 655-3500
                                                             Email: ms@msf-law.com
                                                                    kaf@msf-law.com


            Dated: June 13, 2025                             LINER FREEDMAN TAITELMAN +
                   Los Angeles, CA                           COOLEY, LLP


                                                             By:    /s/ Bryan Freedman
                                                                    Bryan J. Freedman (pro hac vice)
                                                                    Ellyn S. Garofalo (pro hac vice)
                                                                    Miles M. Cooley (pro hac vice)
                                                                    Theresa M. Troupson (pro hac vice)
                                                                    Summer E. Benson (pro hac vice)
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             Dated: June 13, 2025                             AHOURAIAN LAW
                    Los Angeles, CA
                                                              By:    /s/ Mitra Ahouraian
                                                                    Mitra Ahouraian (pro hac vice)
                                                             2029 Century Park East, 4th Floor
                                                             Los Angeles, CA 90067
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                                                             Email: mitra@ahouraianlaw.com
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                                                        VERIFICATION

                    I, Jamey Heath, on behalf of Wayfarer Studios, LLC, declare as follows:
                    I have read the foregoing DEFENDANT WAYFARER STUDIOS LLC’S
            SUPPLEMENTAL              RESPONSES         AND    OBJECTIONS TO PLAINTIFF               BLAKE
            LIVELY’S FIRST SET OF INTERROGATORIES and know its contents.
                    I am the Chief Executive Officer of Wayfarer Studios, LLC. I am authorized to and do
            make this verification on its behalf. The matters stated in the foregoing document are true to my
            own knowledge except as to those matters which are stated on information and belief, and as to
            those matters, I believe them to be true.
                    I declare under penalty of perjury under the laws of the United States, the State of New
            York, and the State of California that the foregoing is true and correct.


                    Executed on June 13, 2025, at Los Angeles, California.



                                                             _________________________
                                                                    Jamey Heath
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                                                CERTIFICATE OF SERVICE

                    I, Summer E. Benson, do hereby certify that I am not less than 18 years of age and that on

            this 13th day of June 2025, I caused a copy of the within DEFENDANT WAYFARER STUDIOS

            LLC’S SUPPLEMENTAL RESPONSES AND OBJECTIONS TO PLAINTIFF BLAKE

            LIVELY’S FIRST SET OF INTERROGATORIES be served upon the following counsel for

            the parties via email:

                                             SEE ATTACHED SERVICE LIST

                    I hereby certify that the foregoing statements made by me are true. I am aware that if any

            of the foregoing statements made by me are willfully false, I am subject to punishment.


            Dated: June 13, 2025
                   Los Angeles, CA

                                                             /s/ Summer E. Benson
                                                               Summer E. Benson
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                                                        SERVICE LIST

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             7 Times Sq                                                    Lively; and
             New York, NY 10036                                            Consolidated Defendants Ryan
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